                       Case 3:22-cv-01208-HZ                 Document 3        Filed 08/17/22      Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Oregon
                                                               District of __________

                   MARITTA ERICKSON                                     )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 3:22-cv-1208-HZ
                                                                        )
      HILLSBORO MEDICAL CENTER and                                      )
  TRANSAMERICA RETIREMENT ADVISORS, LLC                                 )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Hillsboro Medical Center
                                           abn for Tuality Healthcare
                                           Attn: Lori James-Nealon
                                           335 SE Eighth Ave.
                                           Hillsboro, OR 97123



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Megan E. Glor
                                           Megan E. Glor, Attorneys at Law
                                           707 NE Knott Street, Suite 101
                                           Portland, OR 97212



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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                                                                                                      Court


Date
Date:
Date::08/17/2022
      _ _ _ _ _ __                                                             By: s/D. Norris, Deputy Clerk
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 3:22-cv-01208-HZ                Document 3         Filed 08/17/22     Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                   MARITTA ERICKSON                                  )
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                            Plaintiff(s)                             )
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                                v.                                           Civil Action No. 3:22-cv-1208-HZ
                                                                     )
      HILLSBORO MEDICAL CENTER and                                   )
  TRANSAMERICA RETIREMENT ADVISORS, LLC                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Transamerica Retirement Advisors, LLC
                                           c/o The Corporation Trust Company
                                           1209 Orange Street
                                           Wilmington, DE 19801




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are: Megan E. Glor
                                           Megan E. Glor, Attorneys at Law
                                           707 NE Knott Street, Suite 101
                                           Portland, OR 97212



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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Date:
Date: 08/17/2022
      _ _ _ _ _ __                                                           By: s/D. Norris, Deputy Clerk
                                                                                         Signature of Clerk or Deputy Clerk
